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 6
                                   UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
                                                   ***
 9
     UNITED STATES OF AMERICA,                         2:11-cr-00015-LDG-PAL
10
                            Plaintiff,                 MOTION FOR EARLY TERMINATION
11                                                     OF SUPERVISED RELEASE
     vs.                                               (Unopposed by the Office of Probation)
12
     JOHN BIRMELE,
13
                            Defendant/Releasee.
14

15                 COMES NOW, the Defendant and Releasee JOHN BIRMELE, by and through counsel

16 of record, Jason F. Carr, Assistant Federal Public Defender, hereby files this motion to terminate

17 Birmele’ probation. This Motion is brought pursuant to 18 U.S.C. § 3583(e)(1)&(2), Federal Rule

18 of Criminal Procedure 32.1(c), United States Sentencing Guideline Manual § 5D1.2 app. n.5 (2012),
19 and applicable case law.

20                 The grounds for early termination are Birmele’s lack of issues with drug possession

21 or use which tie into the revised application notes to United States Sentencing Guideline § 5D1.2

22 which now encourages courts to exercise its discretion in favor of early termination

23                                 DATED this 18th day of March, 2013.

24
                                                  Respectfully submitted,
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26
                                                  /s/ Heidi A. Ojeda
27                                                HEIDI A. OJEDA
                                                  Assistant Federal Public Defender
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                  On September 30, 2011, this Court entered a written judgment in a criminal case

 3 sentencing defendant and supervised releasee John Birmele to a fifteen month sentence with three
 4 years of supervised release. (See Court Record (CR) 152.)         This Court’ sentence was the result of

 5 Birmele’s pleas of guilty to one count of conspiracy to distribute marijuana and one count of failing
 6 to disclose income to Social Security.

 7                  The federal Bureau of Prisons released Birmele after completion of his fifteen month

 8 term of incarceration on February 9, 2012.
 9                   Contact with Birmele’s Henry Stegman reveals that Birmele has done well on

10 supervised release with no positive drug tests or any other issues. Birmele has completed all drug
11 treatment and counseling requests Probation has asked of him. Birmele has paid off his restitution

12 order of $7,414 that he owed to Social Security. The Office of Probation does not oppose this motion

13 for early termination.
14                  Authority of termination of supervised release is found in 18 U.S.C. § 3583(e)(1) with

15 further guidance imparted by the application notes to United States Sentencing Guideline Manual
16 § 5D1.2. The federal Office of Probation also has its own set of procedures found in Monograph 109,

17 Supervision of Federal Offenders.

18                  The Court may terminate the term of supervised release imposed on a felony defendant
19 “at any time after the expiration of one year of supervised release. . .if it is satisfied that such action

20 is warranted by the conduct of the defendant released and the interest of justice.” 18 U.S.C.
21 § 3583(e)(1) (2012). The statute instructs the Court to consider the following factors in making its

22 determination:

23                  (1) the nature and circumstances of the offense and the history and
                    characteristics of the defendant
24                  (2) the need for the sentence imposed-
                    (B) to afford adequate deterrence to criminal conduct;
25                  (C) to protect the public from further crimes of the defendant; and
                    (D) to provide the defendant with needed educational or vocational
26                  training, medical care, or other correctional treatment in the most
                    effective manner;
27                  (4) the kinds of sentence and the sentencing range established for-
                    (A) the applicable category of offense committed by the applicable
28                  category of defendant as set forth in the [sentencing] guidelines ...

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 1                 (5) any pertinent policy statement-
                   (A) issued by the Sentencing Commission...
 2                 (6) the need to avoid unwarranted sentence disparities among
                   defendants with similar records who have been found guilty of similar
 3                 conduct; and
                   (7) the need to provide restitution to any victims of the offense.
 4

 5 18 U.S.C. § 3553(a) (2012). Subsection 3583(e)(2) has some relevancy to the inquiry as it requires
 6 the court to consider general punishment issues such as deterrence, public safety, rehabilitation,

 7 proportionality, and consistency, when it decides to modify, reduce, or enlarge the term or conditions

 8 of supervised release. Cf. United States v. Lussier, 104 F.3d 32, 35 (2d Cir. 1997).
 9                 The Sentencing Commission recently amended Application note five to Sentencing

10 Guideline 5D1.2 to “encourage” courts to exercise its early termination authority.          See U.S.
11 S ENTENCING GUIDELINE MANUAL Appendix C, Amend. 756. “For example, the court may wish to

12 consider early termination of supervised release if the defendant is an abuser of narcotics, other

13 controlled substances, or alcohol who, while on supervised release, successfully completes a
14 treatment program thereby reducing the risk to the public from further crimes of the defendant.” U.S.

15 SENTENCING GUIDELINE MANUAL § 5D1.2 app. n.5 (2012).
16                 The standards adopted by the Judicial Conference Committee on Criminal Law in

17 March 2003 elaborate on the statutory criteria and recommend evaluation of nine specific factors

18 when deciding whether to approve early termination of supervised release. See MONOGRAPH 109,
19 SUPERVISION OF FEDERAL OFFENDERS. They are:

20                 1. stable community reintegration (e.g., residence, family,
                   employment);
21                 2. progressive strides toward supervision objectives and in compliance
                   [sic] with all conditions of supervision;
22                 3. no aggravated role in the offense of conviction, particularly large
                   drug or fraud offenses;
23                 4. no history of violence ...
                   5. no recent arrests or convictions...
24                 6. no recent evidence of alcohol or drug abuse;
                   7. no recent psychiatric episodes;
25                 8. no identifiable risk to the safety of any identifiable victim; and
                   9. no identifiable risk to public safety
26 Id.

27                 Birmele’s criminal past is almost nonexistent. No convictions, but many arrests for

28 begging on the streets due to Birmele’s inability to work because of his congenital birth defects. A

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 1 motion for early termination, moreover, is based primarily on the offender’s post-release conduct.

 2 Here Birmele meets Probation’s factors. Birmele has done well with his community reintegration.

 3 Birmele complies with all conditions of supervision, particularly in the drug abuse context. Birmele
 4 has little to no history of violence.

 5                  Birmele has maintained a positive attitude and has made a favorable impression on his
 6 Probation Officer. At this stage, Birmele wishes to close this chapter of his life and begin another.

 7 Given no evidence of criminal recidivism or drug use, Birmele should be afforded that right.

 8
 9                                            CONCLUSION

10                  For the aforementioned reasons, Mr. John Birmele respectfully request this Court to
11 end his term of supervision early pursuant to Title 18 U.S.C. 3583(e)(1).

12                  DATED this 18th day of March, 2013.

13                                                        Respectfully submitted,
14
                                                          /s/ Heidi A. Ojeda
15                                                        HEIDI A. OJEDA
                                                          Assistant Federal Public Defender
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